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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES

v.                                                           Case No. 8:14-cr-92-T-24MAP

GLADYS FUERTES
_____________________________/

                                             ORDER

       This cause comes before the Court on Defendant’s Renewed Motion for Judgment of

Acquittal and in the Alternative Motion for New Trial (Doc. 113). The Government filed a

response (Doc. 116) For the reasons set forth below, the motion is DENIED.

I.   Background

       Gladys Fuertes along with her husband Mario Fuertes, was indicted on 17 counts to

include conspiracy to commit healthcare fraud (count one), healthcare fraud (counts two through

eleven), aggravated identity theft (counts twelve through fifteen), and obstruction of a healthcare

investigation (counts sixteen and seventeen). (Doc. 1). On March 24, 2015, a jury returned a

guilty verdict on all seventeen counts as to Gladys Fuertes. (Doc. 101).

II. Motion for Judgment of Acquittal

       On April 8, 2015, Gladys Fuertes filed a Renewed Motion for Judgment of Acquittal,

alleging that: there was insufficient evidence to sustain the convictions, and “ample reasonable

doubt existed in this case.” (Doc. 113).

       In deciding a motion for judgment of acquittal, this Court “must view the evidence in the

light most favorable to the government . . . and determine whether a reasonable jury could have

found the defendant guilty beyond a reasonable doubt.” See United States v. Sellers, 871 F.2d

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1019, 1021 (11th Cir. 1989). The prosecution need not rebut all reasonable hypotheses other

than guilt and the “jury is free to choose between or among the reasonable conclusions to be

drawn from the evidence presented at trial.” Id. All credibility choices must be in support of the

jury’s verdict. United States v. Williams, 390 F 3d. 1319, 1323 (11th Cir. 2004). A district

court may set aside the jury’s verdict only if there is insufficient evidence to sustain the

conviction. Fed. R. Crim. P. 29.

        The evidence against Gladys Fuertes as to the conspiracy to commit healthcare fraud and

the substantive healthcare fraud counts was overwhelming. The documentary evidence as well

as the testimony of witnesses showed that she was actively involved in defrauding the Medicare

program and obtaining money by false representations. The documentary evidence as well as the

testimony also proved she committed aggravated identity theft by using Dr. Ocampo’s Medicare

billing number, unbeknown to him, to submit false Medicare claims to Universal Insurance on

numerous occasions. Finally, the evidence was clear that Gladys Fuertes actively obstructed the

criminal investigation of the healthcare fraud by orchestrating the alteration and fabrication of

billing documents and patient notes.

 III.   Motion for New Trial

        Upon motion of the Defendant, the court may vacate any judgment and grant a new trial

if the interest of justice so requires. Fed. R. Crim. P. 33(a). The evidence must preponderate

heavily against the verdict, such that it would be a miscarriage of justice to let the verdict stand.

United States v. Martinez, 763 F. 2d 1297, 1313 (11th Cir. 1985).

        Gladys Fuertes argues she is entitled to a new trial because the Jury’s verdict was

contrary to the great weight of evidence. As stated above, the evidence against Gladys Fuertes
and in

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support of the jury’s verdict as to each of the counts was overwhelming. She is not entitled to a

new trial.

       For the reasons stated above, Gladys Fuertes’ Renewed Motion for Judgment of Acquittal

and in the Alternative Motion for new Trial is DENIED.

       It is so Ordered this 23rd day of April, 2015.




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